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                          IN THE UNITED STA TES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

 SONY MUSIC ENTERTAINMENT, el al., )
                                   )
                Plaintiffs,        )
                                   )
      v.                           )               Civil Action No. 1: 18cv0950 (LO/JFA)
                                   )
 COX COMMUNICATIONS, INC., el al., )
                                   )
                Defendants.        )


                                                ORDER

         This matter is before the court on plaintiffs' motion for a protective order. (Docket no.

 198). Upon consideration of the motion and memorandum in support (Docket no. 199), and

 taking into consideration the need to resolve this motion promptly given the discovery cutoff

 date, it is hereby

         ORDERED that plaintiffs' motion for a protective order is granted as to Mr. Walker and

 Mr. Kooker, given that the notices of depositions failed to comply with requirement of 11 days

 advance notice under the Local Rules. The motion is also granted as to Mr. Swan since the

 deposition notice would require a resident of California to be deposed in New York. As to Ms.

Ashby, the defendants shall file a response to the motion for a protective order concerning her

deposition by 5:00 p.m. on Tuesday, July 2, 20 I 9 and the court will decide the motion without

 any further argument or briefing.

         Entered this I st day of July, 2019.          ____ /s/ __�.;::..,-­
                                                       John F. Anderson
                                                       United States Magistrate Judge
                                                       John F. Anderson
                                                       United States Magistrate Judge
 Alexandria, Virginia
